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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

KELLY WHITE, individually, as Co-Administrator
of the Estate of Dominique T. White, deceased,
and as Next Friend to minor grandchildren,
TUW, JSW, JKW, NCE, and MARY THERESA
WYNNE, as Co-Administrator of the Estate of
Dominique T. White, deceased,

                               Plaintiffs,

        vs.                                                   Case No. 18-CV-4050-DDC-JPO

CITY OF TOPEKA, ET AL.,

                               Defendants.

                    NOTICE TO TAKE DEPOSITION DUCES TECUM

        TO: PLAINTIFFS and Rick E. Bailey, Andrew M. Stroth, and Carlton Odim, their

attorneys:

        The defendants, Michael Cruse and Justin Mackey, pursuant to F.R.C.P. 26 and 30, will

take the deposition of the following person at the time and date set out:

        Jeremy Bauer at the office of Premier Business Centers, 1700 Seventh Ave, Suite 2100,

Seattle, WA, at 9:00 A.M. (local Pacific time or 11:00 AM Central time) on the 9th day, October,

2019,

and that the taking of the same will continue from day to day until said deposition is complete.

        The witness will bring with him the following documents and things:

        1.     Complete file related to shooting of Dominique White including communications

with plaintiffs’ attorneys that relate to compensation for the expert's study or testimony; identify

facts or data that the party's attorney provided and that the expert considered in forming the

opinions to be expressed; or identify assumptions that the party's attorney provided and that the


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expert relied on in forming the opinions to be expressed. Other communications with plaintiffs’

attorneys are not required.

        2.     Native format copies of all revisions, enhancements or other modifications to the

original body camera videos identified in the report of Jeremy J. Bauer, Ph.D. as

AXON_Flex_Video_2017-09-28_0934.mp4 and AXON_Flex_Video_2017-09-28_0935.mp4

which were prepared by Jeremy Bauer or Bauer Forensics, LLC.

        3.     Native format copies of all stills or “frames” from the subject Axon Flex Videos

and “key frames were captured” and reviewed by Jeremy Bauer.

        4.     All notes of Jeremy Bauer prepared during his review of the subject Axon Flex

Videos.

        5.     All exemplars or other samplings of the Axon Flex Videos prepared or reviewed

by Jeremy Bauer.

        Dated this 6th day of October, 2019.

                                               Respectfully submitted,

                                               /s/David R. Cooper
                                               J. Steven Pigg                             #09213
                                               David R. Cooper                            #16690
                                               FISHER, PATTERSON, SAYLER & SMITH, L.L.P.
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                                               Attorneys for Defendants Michael Cruse and
                                               Justin Mackey




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 6, 2019, I electronically filed the foregoing with the clerk
of the court by using the CM/ECF system which will send a notice of electronic filing to the
following:

        Rick E. Bailey
        CONLEE, SCHMIDT & EMERSON, LLP
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        Pro Hac Vice Attorneys for Plaintiff

        Mary R. (Shelly) Starr, Chief of Litigation
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        Topeka, KS 66603
        sstarr@topeka.org
        njefferson@topeka.org
        Attorneys for Defendant City of Topeka

        I further certify that I mailed the foregoing document and the notice of electronic filing
by first-class mail to the following non-CM/ECF participants: No one.

                                                      /s/David R. Cooper




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